    Case: 1:15-cv-07592 Document #: 11 Filed: 01/04/16 Page 1 of 3 PageID #:28




                                   IN THE
                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
______________________________________________________________________________

HEZEKIAH HAMILTON, R26458,                )
                                          )
                        Petitioner,       )
                                          )
                  v.                      )     No. 15 C 7592
                                          )
KIM BUTLER, Warden,                       )     The Honorable
                                          )     James B. Zagel,
                        Respondent.       )     Judge Presiding.
______________________________________________________________________________

                                  STATUS REPORT

      On September 24, 2015, this Court stayed proceedings on petitioner’s habeas

corpus petition, see 28 U.S.C. § 2254, and ordered the parties to file periodic status

reports concerning petitioner’s motion for DNA testing, see 725 ILCS 5/116-3, that

was then pending in the Circuit Court of Kane County. Doc. 7.

      Petitioner’s DNA litigation has concluded. The trial court denied petitioner’s

motion for DNA testing on November 18, 2015, and, as of today’s date, petitioner

has not filed a notice of appeal from that judgment.
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January 4, 2016                             Respectfully submitted,

                                            LISA MADIGAN
                                            Attorney General of Illinois


                                     By:    /s/ David H. Iskowich
                                            DAVID H. ISKOWICH, Bar No. 6243162
                                            Assistant Attorney General
                                            100 West Randolph Street, 12th Floor
                                            Chicago, Illinois 60601-3218
                                            TELEPHONE: (312) 814-3421
                                            FAX: (312) 814-2253
                                            E-MAIL: diskowich@atg.state.il.us
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                           CERTIFICATE OF SERVICE

        I certify that on January 4, 2016, I electronically filed respondent’s Status
Report with the Clerk of the United States District Court for the Northern District
of Illinois, Eastern Division, using the CM/ECF system, and on the same date
mailed a copy of this document via United States Postal Service to the following
non-registered party:

Hezekiah Hamilton, R26458
Menard Correctional Center
P.O. Box 1000
Menard, Illinois 62259
                                              /s/ David H. Iskowich
                                              DAVID H. ISKOWICH, Bar No. 6243162
                                              Assistant Attorney General
                                              100 West Randolph Street, 12th Floor
                                              Chicago, Illinois 60601-3218
                                              TELEPHONE: (312) 814-3421
                                              FAX: (312) 814-2253
                                              E-MAIL: diskowich@atg.state.il.us
